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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                           IN THE UNITED STATES DISTRICT COURT                             February 04, 2025
                           FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

                                                    §
    KAFI, INC.,                                     §
                                                    §
                           Plaintiff,               §
    v.                                              §    CIVIL ACTION NO. H-23-4217
                                                    §
    FAIRGATE TRUST, et al.,                         §
                                                    §
                           Defendants.              §
                                                    §
                                                    §

                                  MEMORANDUM AND OPINION

            The defendants, Fairgate Trust and Allied Servicing Corporation, ask the court to

reconsider its memorandum and opinion granting summary judgment to the plaintiff, Kafi Inc.

(Docket Entry Nos. 28, 29).1 The defendants present two arguments for reconsideration: (1) the

court incorrectly found a sworn declaration from Dennis Lanni, the Trustee for Fairgate Trust,

incompetent as summary judgment evidence establishing that the January 2017 and June 2018

accelerations were abandoned; and (2) even if the accelerations were not abandoned, the debtor

acknowledged the debt in 2021.

            Based on the record, the briefs, and the applicable law, the court grants the motion for

reconsideration in part. The court denies summary judgment to both parties as to the quiet-title

and statute-of-limitations issues because there are genuine factual disputes material to determining

whether the January 2017 and June 2018 accelerations were abandoned, and the defendants have

failed to prove as a matter of law that the debtor acknowledged the debt. The court grants summary



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  The third defendant, Mortgage Electronic Registration Systems, Inc., has not moved for summary
judgment and is not addressed in this opinion. The moving defendants will be referred to collectively as
“Fairgate” or “the defendants.”
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judgment to Fairgate Trust and Allied Servicing Corporation on the standing issue. The portions

of this court’s prior opinion that conflict with this opinion, (Docket Entry No. 28), are vacated.

        The reasons for these rulings are set out below.

I.      Background

        In December 2005, Javier Martinez purchased a home in Houston, Texas. He paid for the

home, in part, with a promissory note in the principal amount of $29,000, secured by a deed of

trust. (Docket Entry Nos. 24-1, 24-2).

        After a decade, Mr. Martinez’s mortgage payments were in arrears. On several dates

between 2016 and 2019, Mr. Martinez was sent notices that the deed of trust would be foreclosed

and his property would be sold at a “substitute trustee sale.” (Docket Entry Nos. 24-4, 24-5, 24-

6, 24-7). In November 2016, Mr. Martinez was sent a notice of default and intent to accelerate.

(Docket Entry No. 24-27). In June 2018, he was sent a notice of acceleration and notice of posting

and foreclosure. (Docket Entry No. 24-28). In June 2021, Mr. Martinez executed a “Modification

of Note, Deed of Trust and Release of Claims Agreement” with the lender. (Docket Entry No. 21-

6). In February 2023, Mr. Martinez was sent another notice of default and intent to accelerate.

(Docket Entry No. 21-7).

        In 2023, Mr. Martinez’s homeowners’ association sued him for unpaid dues. (Docket

Entry No. 24-19). The 269th Judicial District Court of Harris County issued an agreed final

judgment for foreclosure against Mr. Martinez. (Docket Entry No. 24-20). In October 2023, Kafi

purchased the home at the foreclosure sale for $36,071. (Docket Entry No. 24-21).

        Fairgate Trust is the current assignee of the deed of trust. In November 2023, Kafi sued

Fairgate, Allied Servicing Corporation, and Mortgage Electronic Registration Systems, Inc. in

Texas state court, asserting causes of action for (1) quiet title, (2) a declaration that the defendants

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lacked standing to foreclose on the property, and (3) a declaration that the statute of limitations

had run because a foreclosure sale did not take place under the deed of trust within four years of

acceleration. (Docket Entry No. 1-4). The defendants removed to this court on the basis of

diversity jurisdiction. (Docket Entry No. 1).

II.      The Legal Standard

         A.     The Legal Standard for a Motion to Reconsider

         The Federal Rules of Civil Procedure do not specifically provide for motions to reconsider.

Washington ex rel. J.W. v. Katy Indep. Sch. Dist., 403 F. Supp. 3d 610, 616 (S.D. Tex. 2019)

(citing St. Paul Mercury Ins. Co. v. Fair Grounds Corp., 123 F.3d 336, 339 (5th Cir. 1997)). A

motion seeking reconsideration of a prior ruling is evaluated as a motion to alter or amend a

judgment under Rule 59(e) if it is filed within 28 days of the entry of judgment. Demahy v.

Schwarz Pharma, Inc., 702 F.3d 177, 182 n.2 (5th Cir. 2012) (per curiam). If the motion is filed

after that time, it is analyzed as a motion for relief from a final judgment or order under Rule 60.

Id. The defendants filed their motion within the 28-day window, so it is considered a Rule 59(e)

motion.

         “A Rule 59(e) motion calls into question the correctness of a judgment.” Templet v.

HydroChem Inc., 367 F.3d 473, 478–79 (5th Cir. 2004) (quotation marks and quoting reference

omitted). A Rule 59(e) motion “‘must clearly establish either a manifest error of law or fact or

must present newly discovered evidence’ and ‘cannot be used to raise arguments which could, and

should, have been made before the judgment issued.’” Rosenzweig v. Azurix Corp., 332 F.3d 854,

863–64 (5th Cir. 2003) (quoting Simon v. United States, 891 F.2d 1154, 1159 (5th Cir. 1990)).

“Reconsideration of a judgment after its entry is an extraordinary remedy that should be used

sparingly.” Templet, 367 F.3d at 479. Nevertheless, “the law-of-the-case doctrine does not operate

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to prevent a district court from reconsidering prior rulings,” and this court “has the power to revisit

prior decisions of its own.” Zarnow v. City of Wichita Falls, 614 F.3d 161, 171 (5th Cir. 2010)

(quoting reference omitted).

       B.      The Rule 56 Standard

       “Summary judgment is appropriate where ‘the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.’”

Springboards to Educ., Inc. v. Pharr-San Juan-Alamo Indep. Sch. Dist., 33 F.4th 747, 749 (5th

Cir. 2022) (quoting FED. R. CIV. P. 56(a)). “A fact is material if it ‘might affect the outcome of

the suit.’” Thomas v. Tregre, 913 F.3d 458, 462 (5th Cir. 2019), as revised (Jan. 25, 2019) (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). “A factual dispute is genuine ‘if the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.’” Id.

(quoting Anderson, 477 U.S. at 248). When considering a motion for summary judgment, the

court “must consider all facts and evidence in the light most favorable to the nonmoving party”

and “must draw all reasonable inferences in favor of the nonmoving party.” Ion v. Chevron USA,

Inc., 731 F.3d 379, 389 (5th Cir. 2013).

       The moving party “always bears the initial responsibility of informing the district court of

the basis for its motion” and pointing to record evidence demonstrating that there is no genuine

dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); see also FED. R. CIV.

P. 56(c). “When ‘the non-movant bears the burden of proof at trial,’ a party moving for summary

judgment ‘may merely point to the absence of evidence and thereby shift to the non-movant the

burden of demonstrating by competent summary judgment proof that there is a dispute of material

fact warranting trial.’” MDK S.R.L. v. Proplant Inc., 25 F.4th 360, 368 (5th Cir. 2022) (alteration




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adopted) (quoting Nola Spice Designs, L.L.C. v. Haydel Enterprises, Inc., 783 F.3d 527, 536 (5th

Cir. 2015)).

       “Once the moving party has initially shown that there is an absence of evidence to support

the non-moving party’s cause, the non-movant must come forward with specific facts showing a

genuine factual issue for trial.” Houston v. Tex. Dep’t of Agric., 17 F.4th 576, 581 (5th Cir. 2021)

(quotation marks and quoting reference omitted). “[A] party cannot defeat summary judgment

with conclusory allegations, unsubstantiated assertions, or only a scintilla of evidence.” Jones v.

Gulf Coast Rest. Grp., Inc., 8 F.4th 363, 368 (5th Cir. 2021) (quotation marks and quoting

reference omitted). Rather, the nonmovant “must identify specific evidence in the record and

articulate the precise manner in which that evidence supports [its] claim.” Shah v. VHS San

Antonio Partners, L.L.C., 985 F.3d 450, 453 (5th Cir. 2021) (alteration adopted) (quotation marks

and quoting reference omitted).

       The movant is entitled to judgment as a matter of law when “the nonmoving party has

failed to make a sufficient showing on an essential element of [its] case with respect to which [it]

has the burden of proof.” Celotex Corp., 477 U.S. at 323. But “[i]f ‘reasonable minds could differ’

on ‘the import of the evidence,’ a court must deny the motion.” Sanchez v. Young County, 956

F.3d 785, 791 (5th Cir. 2020) (quoting Anderson, 477 U.S. at 250–51).

III.   Analysis

       A.      The Lanni Declaration

       Under Federal Rule of Civil Procedure 56(c)(4), an affidavit or declaration offered in

support of a summary judgment motion “must be made on personal knowledge, set out facts that

would be admissible in evidence, and show that the affiant or declarant is competent to testify on

the matters stated.” “[A]n affidavit can adequately support a motion for summary judgment when

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the affiant’s personal knowledge is based on a review of her employer’s business records and the

affiant’s position with the employer renders her competent to testify on the particular issue which

the affidavit concerns.” Carson v. Perry, No. 95-40551, 1996 WL 400122, at *1 (5th Cir. 1996)

(per curiam); see also F.D.I.C. v. Selaiden Builders, Inc., 973 F.2d 1249, 1254–55 & n.12 (5th Cir.

1992) (the district court did not err in considering an affidavit from an asset manager of the FDIC-

Receiver, who stated that his personal knowledge was based on his review of the FDIC-Receiver’s

business records), cert. denied, 507 U.S. 1051 (1993); RTC v. Camp, 965 F.2d 25, 29 (5th Cir.

1992)). This is particularly true “when there is no reason for the court to doubt the veracity of the

affiant’s testimony.” Carson, 1996 WL 400122, at *1.

       Mr. Lanni is the Trustee for Fairgate. (Docket Entry No. 21-1 at ¶ 1). In his declaration,

Mr. Lanni describes the contents of the “Loan Records” maintained by Fairgate as to the mortgage

loans that Allied services, including Mr. Martinez’s loan. (Id. at ¶¶ 2, 4). Mr. Lanni “ha[s] access

to the Loan Records with respect to the loan at issue” and has “knowledge of how they are

maintained.” (Id. at ¶ 2). He states that “the Loan Records are made at the time of the events and

conditions they describe” based on firsthand knowledge. (Id.). He also states that the “Loan

Records are maintained in Fairgate’s regular course of business.” (Id). Mr. Lanni reviewed the

Loan Records and, based on that review, “gained knowledge of the facts set forth” in his

declaration. (Id.). These facts establish that the Loan Records fall within the hearsay exception

for records of a regularly conducted activity. See FED. R. EVID. 803(6). They also establish that

Mr. Lanni had personal knowledge based on his review of the business records, and that his

position and responsibility to be familiar with the records of the loans that Allied services made

him competent to testify as to what information the Loan Records contained about Mr. Martinez’s

payments. See Carson, 1996 WL 400122, at *1.

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       The fact that the records are not attached to the declaration does not exclude the declaration

from the court’s consideration on summary judgment. As the Fifth Circuit has explained,

“materials cited to support or dispute a fact need only be capable of being presented in a form that

would be admissible in evidence.” Maurer v. Indep. Town, 870 F.3d 380, 384 (5th Cir. 2017)

(quotation marks and quoting references omitted); see also FED. R. CIV. P. 56(c)(2) (“A party may

object that the material cited to support or dispute a fact cannot be presented in a form that would

be admissible in evidence.”). “This flexibility allows the court to consider the evidence that would

likely be admitted at trial—as summary judgment is trying to determine if the evidence admitted

at trial would allow a jury to find in favor of the nonmovant—without imposing on parties the time

and expense it takes to authenticate everything in the record.” Maurer, 870 F.3d at 384.

       Accordingly, trial courts in this circuit have overruled hearsay, authentication, and personal

knowledge objections to summary judgment evidence when that evidence was capable of being

presented in an admissible form. See, e.g., United Healthcare Servs., Inc. v. Rossel, No. 3:21-CV-

1547-L-BT, 2024 WL 4451761, at *9 (N.D. Tex. July 23, 2024) (overruling objections to summary

judgment evidence because “[the defendants] have not shown that [the plaintiffs] will be unable

to introduce the information [the defendants] identify as hearsay in an acceptable format at trial or

that [the plaintiffs] will not be able to authenticate this information at trial”), report and

recommendation adopted, No. 3:21-CV-1547-L-BT, 2024 WL 4326539 (N.D. Tex. Sept. 27,

2024); Lehman v. Select Portfolio Servicing, Inc., No. 4:13-CV-720, 2015 WL 123868, at *2 (E.D.

Tex. Jan. 7, 2015) (the affiant’s position and review of the records gave him personal knowledge

of facts about the plaintiff’s loan, so the affidavit was competent summary judgment evidence even

without the records attached).




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        The Fifth Circuit has also overruled hearsay and personal knowledge objections to a

records custodian’s affidavit considered on summary judgment, even though the underlying

records were not attached to the affidavit, when “there [was] no reason to doubt the accuracy of

[the] affidavit.” Carson, 1996 WL 400122, at *1–2;2 see also Cuevas v. BAC Home Loans

Servicing, LP, 648 F.3d 242, 250 (5th Cir. 2011) (citing approvingly the affidavit of a corporate

officer submitted in support of summary judgment, stating that the officer had knowledge of the

corporate structure and had reviewed relevant business records).

        Mr. Lanni’s declaration shows that his testimony and the Loan Records are “capable of

being presented in a form that would be admissible in evidence.” See Maurer, 870 F.3d at 384;

FED. R. CIV. P. 56(c)(2), (4). Although the court remains puzzled about why Fairgate did not

submit the Loan Records themselves, the court cannot identify a reason to doubt the truthfulness

of Mr. Lanni’s declaration. See Carson, 1996 WL 400122, at *1. Fairgate apparently produced

the payment history records during discovery, (Docket Entry No. 26 at 3), and Kafi presents no

evidence or argument suggesting that Mr. Lanni’s declaration is false. Cf. FED. R. EVID. 803(6)(E)

(the burden is on the party opposing the admission of business records to “show that the source of

information or the method or circumstances of preparation indicate a lack of trustworthiness”).

Indeed, Kafi has disputed only the admissibility, not the accuracy, of the Lanni declaration. See

(Docket Entry No. 24 at 14–16); (Docket Entry No. 31 at 3–5). Fairgate can easily overcome

Kafi’s evidentiary objections at trial by submitting the Loan Records along with Mr. Lanni’s

testimony.



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  In Carson, the court added that “there is no reason to doubt the accuracy of [the] affidavit because [the]
trust fund account records were on file with the court and were considered by the district court when it ruled
on the defendants’ motion for summary judgment.” 1996 WL 400122, at *2. Even though the Loan
Records have not been filed, this court similarly has no reason to doubt the accuracy of the Lanni
declaration, as detailed herein.
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       Because Mr. Lanni’s declaration sets out facts that would be admissible at trial, and in the

absence of any reason to question Mr. Lanni’s truthfulness, the court concludes that the Lanni

declaration is competent summary judgment evidence. The portion of this court’s prior opinion

that states otherwise, (Docket Entry No. 28), is vacated.

       B.      The Issue of Abandonment

       A secured lender must sue for the foreclosure of a real property lien “not later than four

years after the day the cause of action accrues.” Boren v. U.S. Nat’l Bank Ass’n, 807 F.3d 99, 104

(5th Cir. 2015) (quoting TEX. CIV. PRAC. & REM. CODE § 16.035(a)). “If a note or deed of trust

secured by real property contains an optional acceleration clause,” the cause of action accrues

“when the holder actually exercises its option to accelerate.” Holy Cross Church of God in Christ

v. Wolf, 44 S.W.3d 562, 566 (Tex. 2001). To exercise the option, the note holder must send “both

a notice of intent to accelerate and a notice of acceleration.” Boren, 807 F.3d at 104 (quoting EMC

Mortg. Corp. v Window Box Ass’n, Inc., 264 S.W.3d 331, 335–36 (Tex. App.—Waco 2008, no

pet.)). “So long as it is preceded by the required notice of intent to accelerate, notice of a trustee’s

sale constitutes unequivocal action indicating the debt is accelerated.” Karam v. Brown, 407

S.W.3d 464, 470 (Tex. App.—El Paso 2013, no pet.).

       If an acceleration has been abandoned, the limitations period generally restarts. Boren, 807

F.3d at 103–06; Bitterroot Holdings, L.L.C. v. MTGLQ Inv’rs, L.P., 648 F. App’x 414, 418 (5th

Cir. 2016) (per curiam). Acceleration can be abandoned “either through joint action with the

borrower, or through [the lender’s] own, unilateral action, which effectively restores the note’s

original maturity date.” Deutsche Bank Nat’l Tr. Co. v. Anthony, No. 4:19-CV-688, 2021 WL

8016157, at *5 (S.D. Tex. Feb. 22, 2021) (quoting reference omitted). “A lender can unilaterally

abandon acceleration ‘through notice to the borrower that expressly states the holder is abandoning

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the acceleration.’” Id. (quoting Pitts v. Bank of N.Y. Mellon Tr. Co., 583 S.W.3d 258, 262–63

(Tex. App.—Dallas 2018, no pet.)). A lender also abandons acceleration if it “continues to accept

payments without exacting any remedies available to it upon declared maturity.” Bitterroot, 648

F. App’x at 418 (quoting Holy Cross, 44 S.W.3d at 566–67). If acceleration is not abandoned, and

foreclosure does not occur within four years, the lender’s real property lien and power of sale to

enforce the real property lien become void. Bitterroot Holdings, LLC v. Bank of N.Y. Mellon, No.

SA-14-CA-0804-FB, 2016 WL 11478282, at *8 (W.D. Tex. Nov. 14, 2016), report and

recommendation adopted, No. 14-CV-804 (RCL), 2017 WL 10181041 (W.D. Tex. Aug. 4, 2017);

TEX. CIV. PRAC. & REM. CODE §§ 16.035(b), (d).

       According to Kafi, the note was accelerated in January 2016, January 2017, June 2018, and

September 2019. (Docket Entry No. 24 at 10). On each of these dates, Mr. Martinez was sent

notices that the deed of trust would be foreclosed and his property would be sold at a “substitute

trustee sale.” (Docket Entry Nos. 24-4, 24-5, 24-6, 24-7).

       Kafi alleges in its complaint that, “[u]pon information and belief, the January [] 2016

acceleration was preceded by a notice of intent to accelerate.” (Docket Entry No. 1-4 at ¶ 58). But

there is no evidence in the summary judgment record of this notice being sent, much less received.

The lack of evidence means that, as a matter of law, the note was not accelerated in January 2016.

See Karam, 407 S.W.3d at 470.

       The record includes two notices of intent to accelerate: one on November 30, 2016, and

another on February 24, 2023. (Docket Entry Nos. 21-5, 21-7); see also (Docket Entry No. 24 at

17). Accordingly, the January 2017, June 2018, and September 2019 notices of foreclosure were

preceded by a single notice of intent to accelerate.




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       The February 2023 notice stated that, “to cure [the] default,” Mr. Martinez must “pay to

this office all past due payments plus late charges and any payments that may become due between

the date of this notice and the date the default is cured.” (Docket Entry No. 21-7 at 1). This notice

constitutes abandonment of the September 2019 acceleration. See Boren, 807 F.3d at 104, 106 (a

notice of default informing the borrower “that the total amount necessary to bring their loan current

was the amount due under the original terms of the payment” constituted abandonment and reset

the statute of limitations). Kafi does not argue otherwise. (Docket Entry No. 24 at 17–18).

However, the February 2023 notice could not have abandoned the January 2017 and June 2018

accelerations because more than four years had passed between those accelerations and the

February 2023 notice. See TEX. CIV. PRAC. & REM. CODE §§ 16.035(b), (d).

       The issue is whether the January 2017 and June 2018 accelerations were abandoned within

the four-year period. According to Mr. Lanni’s declaration, Mr. Martinez “made payments that

were accepted and applied to the Loan balance by the then lender on February 6, 2017[,] and again

on June 6, 2019.” (Docket Entry No. 21-1 at ¶ 8). In response, Kafi argues that Fairgate has not

shown that these partial payments were accepted “without exacting any remedies available to it

upon declared maturity.” See Bitterroot, 648 F. App’x at 418. If the lender abandoned the

acceleration by accepting payments in February 2017 and June 2019, a new notice of intent to

accelerate would be required as the first step to re-accelerating the loan. Wilmington Tr., Nat’l

Ass’n v. Rob, 891 F.3d 174, 177 (5th Cir. 2018). However, the record shows that the lender

continued to notice the property for sale without issuing a renewed notice of intent. See (Docket

Entry No. 24-6–24-16). This suggests that the lender either did not intend to abandon the

acceleration or, at the least, “acted ‘inconsistently’ by rescinding acceleration and then re-

accelerating without notice.” See Wilmington Tr., Nat’l Ass’n, 891 F.3d at 177; see also Deutsche

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Bank Nat'l Tr. Co. v. Gladle, No. A-19-CV-00613-SS, 2020 WL 6379281, at *8 (W.D. Tex. July

30, 2020) (conflicting evidence about a lender’s intent to abandon an acceleration precluded

summary judgment). Fairgate does not respond to this argument. See (Docket Entry No. 26 at 2–

3).

       The court concludes that there is a genuine factual dispute material to determining whether

the January 2017 and June 2018 accelerations were abandoned. Neither party is entitled to

summary judgment on this issue. The portion of this court’s prior opinion that states otherwise,

(Docket Entry No. 28), is vacated.

       C.     The Issue of Acknowledgment

       In the alternative, Fairgate argues that Mr. Martinez’s execution of a “Modification of

Note, Deed of Trust and Release of Claims Agreement” in 2021 acknowledged the debt and

precludes a statute-of-limitations defense. (Docket Entry No. 29 at 3-4); (Docket Entry No. 21 at

10-11); (Docket Entry No. 21-6).      Fairgate supports this argument by providing the legal

framework for acknowledgment, without applying that standard to the 2021 Agreement. (Docket

Entry No. 29 at 3-4); (Docket Entry No. 21 at 10-11). Kafi argues that the 2021 Agreement does

not meet the standard for acknowledgment because the document is conditional and does not

clearly and unequivocally acknowledge the debt. (Docket Entry No. 24 at 13-14).

       Acknowledgment of a debt creates a new obligation for the purpose of the statute of

limitations. See Stine v. Stewart, 80 S.W.3d 586, 591 (Tex. 2002); In re Fullinwider, No. 14-

34787, 2015 WL 1208033, at *2 (Bankr. S.D. Tex. Mar. 11, 2015). “[A]n ‘acknowledgment,’

must: “1) be in writing and signed by the party to be charged; 2) contain an unequivocal

acknowledgment of the justness or the existence of the particular obligation; and 3) refer to the

obligation and express a willingness to honor that obligation.” In re Fullinwider, 2015 WL

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1208033, at *2 (citing Stine, 80 S.W.3d at 591). “Additionally, the amount of the obligation the

acknowledgment describes must be ‘susceptible of ready ascertainment.’” Id. (quoting Stine, 80

S.W.3d at 591–92).

       Under the law of acknowledgment, “[i]f the writing as a whole reflects that the debtor’s

new promise to pay is conditional, limited, or qualified, the creditor may not recover unless he

shows fulfillment of the restriction that the debtor has placed upon his new promise to

pay.” Murphy v. Fairfield Fin. Group, Inc., No. 03-99-00562-CV, 2000 WL 689758, at *5 (Tex.

App.—Austin May 31, 2000, pet. denied). The 2021 Agreement lists two conditions precedent

and also establishes that cancellation of the foreclosure is conditional: “Borrower must make on

time installment payments for the loan modification fee as well as on time monthly payments for

3 months for this loan modification to successfully complete its trial period. Foreclosure will be

cancelled after the successful completion of this loan modification trial period.” (Docket Entry

No. 21-6 at 1). Fairgate does not point to any evidence that Mr. Martinez met these conditions or

otherwise address this argument in its summary judgment briefing or motion for reconsideration.

       Summary judgment on this issue is denied.

       D.      Standing to Foreclose

       “Under the Texas Property Code, the only party with standing to initiate a non-judicial

foreclosure sale is the mortgagee, or the mortgage servicer acting on behalf of the current

mortgagee.” Miller v. Homecomings Fin., LLC, 881 F. Supp. 2d 825, 828–29 (S.D. Tex. 2012)

(footnote omitted). “A mortgagee includes the grantee, beneficiary, owner, or holder of a security

instrument, such as a deed of trust, or if the security interest has been assigned of record, the last

person to whom the security interest has been assigned of record.” Hernandez v. Residential

Accredit Loans Inc., Mortg. Asset-Backed Pass-Through Certificates, Series 2007-QS3, No. CV

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H-18-0724, 2018 WL 4033785, at *6 (S.D. Tex. Aug. 23, 2018) (quotation marks and quoting

reference omitted). “In order to enforce the note as a holder, a party who is not the original lender

must prove ‘successive transfers of possession and indorsement’ establishing an ‘unbroken chain

of title.’” Miller, 881 F. Supp. 2d at 829 (quoting reference omitted).

        Fairgate submitted documents demonstrating a recorded chain of assignments from the

original lender to Fairgate. See (Docket Entry No. 21-3) (the deed of trust executed by Mr.

Martinez listing Homecomings Financial Network as the original lender and Mortgage Electronic

Registration Systems as the nominee); (Docket Entry No. 21-4 at 1) (the corporate assignment of

deed of trust from Mortgage Electronic Registration Systems, as nominee for Homecomings

Financial Network, to Trinity Financial Services, recorded on July 14, 2014); (id. at 3) (the

corporate assignment of deed of trust from Trinity Financial Services to Full House Leasing,

recorded on July 14, 2014); (id. at 5) (the corporate assignment of deed of trust from Full House

Leasing to Fairgate Trust, recorded on February 4, 2021).3 Because these documents establish

“successive transfers of possession and indorsement establishing an unbroken chain of title,”

Fairgate has standing to enforce the note as a holder. See Miller, 881 F. Supp. 2d at 829 (quotation

marks and quoting reference omitted).

IV.     Conclusion

        Fairgate has standing to foreclose on the property. Fairgate has also shown, as a matter of

law, that the note was not accelerated in January 2016 and that the September 2019 acceleration

was abandoned. The court grants summary judgment to Fairgate on those issues. The court




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 The dates relied on by Kafi for these assignments are the dates that they were prepared or signed. See
(Docket Entry No. 24 at 22) (citing Docket Entry Nos. 24-22–24-26). The assignments become effective
upon recording, and there is no dispute about the recorded dates included in this paragraph. Compare
(Docket Entry Nos. 24-22–24-26) with (Docket Entry No. 21-4).
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otherwise denies Fairgate’s motion for summary judgment, (Docket Entry No. 21); Fairgate’s

motion for reconsideration, (Docket Entry No. 29); and Kafi’s motion for summary judgment,

(Docket Entry No. 24). The court cannot resolve the quiet-title or statute-of-limitations issues on

the present summary judgment record because there are genuine factual disputes material to

determining whether the January 2017 and June 2018 accelerations were abandoned, and Fairgate

has failed to prove as a matter of law that Mr. Martinez acknowledged the debt in 2021.

       The portions of this court’s prior opinion that conflict with this opinion, (Docket Entry No.

28), are vacated. A status and scheduling conference is set for Monday, February 10, 2025, at 2:00

p.m., by Zoom.



       SIGNED on February 4, 2025, at Houston, Texas.




                                                     ________________________________
                                                                Lee H. Rosenthal
                                                        Senior United States District Judge




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